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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

Dequann Pressley,


                               Plaintiff,                      Complaint
v.
                                                      JURY TRIAL DEMANDED
City of New York, NYPD Officers John
Does 1 through 10, individually and in               Civ. No.:15-CV- 6636
their official capacities (the names John
Doe being fictitious, as the true names are
presently unknown).
                              Defendants.



                                  PRELIMINARY STATEMENT

     1. Plaintiff brings this civil rights action against the City of New York and New York City

        Police Officers John Does 1 through 10, alleging that defendants violated his rights under

        42 U.S.C. § 1983, the First, Fourth, Fifth and Fourteenth Amendments to the United

        States Constitution by falsely arresting him, and for the John Doe’s failure to intervene

        and prevent such conduct. Plaintiff seeks compensatory and punitive damages, attorney’s

        fees and costs and such other and further relief as the Court deems just and proper.

                                   JURISDICTION AND VENUE

     2. This action is brought pursuant to 42 U.S.C. §§1983 and 1988, and the First, Fourth, Fifth

        & Fourteenth Amendments to the United States Constitution. Jurisdiction is conferred

        upon this Court by 28 U.S.C. §1331 and §1343.

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 3. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §1391 (b) and

    (c) because a substantial part of the events giving rise to Plaintiff’s claims occurred in

    this District, Plaintiff resides in this District and because some or all of the defendants

    reside in this District.

                                 DEMAND FOR A JURY TRIAL

 4. Pursuant to Fed. R. Civ. P. 38, Plaintiff demands a trial by jury in this action.

                                          PARTIES

 5. Plaintiff Dequann Pressley (“Plaintiff” or “Mr. Pressley”) is a twenty (20) year old

    African American man who resides in the County of Kings, City and State of New York.

 6. The City of New York is a municipal corporation organized under the laws of the State of

    New York.

 7. The individual defendants are members of the New York City Police Department

    (“NYPD”) who were so employed on October 17, 2015. The Doe defendants were acting

    under color of state law and in their capacities as members of the NYPD at all relevant

    times. The Doe defendants are sued in their individual and official capacities.



                                    STATEMENT OF FACTS

 8. The Incident which is the subject of the instant Complaint took place at or about 9:30

    p.m. as Plaintiff was riding his bicycle home from a friend’s house.

 9. Plaintiff was lawfully bicycling on the side of the road, when a marked NYPD van

    pulled-up alongside him and an NYPD Officer instructed Plaintiff to stop his bicycle.

 10. Plaintiff complied, but queried of the officers, “What is this, stop and frisk?” Plaintiff

    then stated, “You can’t just stop me like this.”
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 11. The officers demanded Plaintiff’s identification and Plaintiff produced his New York

    State Benefit Card.

 12. Plaintiff was then handcuffed and brought to the precinct for processing.

 13. Thereafter, Plaintiff was transported to Brooklyn Central Booking for arraignment.

 14. Following approximately a twenty (20) hour detention, Plaintiff learned at his

    arraignment that he had been charged with: violating N.Y.C. Traffic Rule and Regulation

    §4-07 (c)(3), restricting the driving of bicycles on sidewalks; violating Administrative

    Code §19-176, prohibiting bicycle operation on a sidewalk; and Resisting Arrest.

 15. At arraignment, the matter was adjourned in contemplation of dismissal.

 16. As a result of the foregoing, Plaintiff suffered an unlawful detention, loss of liberty,

    emotional distress, fear, anxiety, humiliation and degradation – all to his detriment.



                                         FIRST CLAIM
                                    Unlawful Search and Seizure

 17. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

 18. Defendants violated the Fourth and Fourteenth Amendments because they stopped and

    searched Plaintiff without reasonable suspicion or probable cause to do so.

 19. As a direct and proximate result of this unlawful conduct, Plaintiff sustained the damages

    herein before alleged.

 20. As a result of the foregoing, Plaintiff suffered an unlawful detention, loss of liberty,

    emotional distress, fear, anxiety, humiliation and degradation – all to his detriment.

                                          SECOND CLAIM
                                            False Arrest


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 21. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

 22. Defendants violated the Fourth and Fourteenth Amendments because they arrested

    Plaintiff without probable cause.

 23. As a direct and proximate result of this unlawful conduct, Plaintiff sustained the damages

    hereinbefore alleged.


                                     THIRD CLAIM
                                    Failure to Intervene

 24. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

 25. Those defendants that were present but did not actively participate in the aforementioned

    unlawful conduct observed such conduct; had an opportunity to prevent such conduct and

    had a duty to intervene and prevent such conduct- but consciously failed and refused to

    intervene.

 26. Accordingly, the defendants who failed to intervene violated the Fourth, Fifth and

    Fourteenth Amendments.

 27. As a direct and proximate result of this unlawful conduct, Plaintiff sustained the damages

    hereinbefore alleged.

                                     FOURTH CLAIM
                             FIRST AMENDMENT RETALIATION

 28. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

 29. By their conduct, as described herein, and acting under color of state law to deprive the

    Plaintiff of his right to freedom of speech and freedom of expression under the First and

    Fourteenth Amendments, the individual defendants are liable for violation of 42 U.S.C.

    §1983 which prohibits the deprivation under color of state law of rights secured under the

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    United States Constitution. The individual defendants have violated Plaintiff’s First

    Amendment rights to free speech and freedom of expression by unlawfully denying his

    right to speak freely and freely express himself when he questioned the officers and their

    right to stop him, thereby subjecting him to false arrest, in an effort to deter Plaintiff’s

    exercise of his First Amendment rights. The Defendant NYPD Officers’ actions were

    taken in retaliation for Plaintiff’s exercising his First Amendment rights.

 30. As a consequence of the individual defendants’ actions, Plaintiff has suffered violations

    of his First and Fourteenth Amendment rights to free speech and freedom of expression.

    Plaintiff has fear and apprehension that he will, again, be subjected to similar unlawful

    acts by defendants done for the purpose of limiting and preventing his First-Amendment

    protected activities.

 31. As a direct and proximate cause of the individual defendants’ unlawful actions, Plaintiff

    suffered an unlawful detention, loss of liberty, emotional distress, fear, anxiety,

    humiliation and degradation – all to his detriment.

                                     FIFTH CLAIM
                                    MONELL CLAIM

 32. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

 33. The City of New York is a “person” within the meaning of 42 U.S.C. §1983.

 34. The acts complained of were carried out by the aforementioned defendants in their

    capacities as police officers and officials pursuant to customs, policies, usages, practices,

    procedures and rules of the City and NYPD, all under the supervision of ranking officers

    of the NYPD.



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 35. The City is liable for the damages suffered by Plaintiff as a result of the conduct of their

    employees, agents, servants, in that, after learning of their employees’ violation of

    Plaintiff’s constitutional rights, they failed to remedy the wrong; they have created a

    policy and/or custom under which unconstitutional practices occurred and allowed such

    policies or customs to continue, and they have been grossly negligent in managing

    subordinates who caused the unlawful condition or event.

 36. The City has been alerted to the regular use of excessive force and false arrests by its

    police officers, but has nevertheless exhibited deliberate indifference to such excessive

    force and false arrests; that deliberate indifference caused the violation of Plaintiff’s

    constitutional rights in this case.

 37. The Incident that Plaintiff complains of is not an isolated incident. The City has been

    aware for some time, from lawsuits, notices of claim, complaints filed with the Civilian

    Complaint Review Board, and judicial rulings suppressing evidence and finding officers

    incredible as a matter of law, that a disturbing number of the City’s police officers use

    excessive force, unlawfully search and seize citizens, bring charges against citizens with

    no legal basis, perjure themselves in charging instruments and testimony, and fail to

    intervene in and report the obvious illegal actions of their fellow officers. Nevertheless,

    the City has allowed policies and practices that allow the aforementioned to persist.

 38. In addition, the well documented failures of the Civilian Complaint Review Board (“the

    CCRB”), a City agency, to substantiate obviously meritorious citizen complaints have

    gone uncorrected. The CCRB regularly finds complainants lack credibility based on the

    fact that such complainants have also brought lawsuits to remedy the wrongs they have

    experienced, a practice that often results in not substantiating the most serious charges
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    brought to them. In addition, the CCRB virtually never initiates their own findings of

    false statements against officers who have made false statements to the CCRB in their

    own defense, nor do they initiate findings that officers have failed to report their fellow

    officers’ misconduct; thus, officers have no real incentive to come forward, or to testify

    truthfully at the CCRB. The CCRB has no enforcement mechanisms once making a

    finding against an officer; it can only make recommendations to the NYPD, once finding

    misconduct by an officer.

 39. The NYPD, once receiving a substantiated complaint by the CCRB, fails to adequately

    discipline officers for misconduct. The NYPD Department Advocate, which is endowed

    with the responsibility of following-up on substantiated CCRB charges, is understaffed

    and under-utilized. Furthermore, in the extraordinarily rare event that the CCRB

    substantiates a complaint and the Department Advocate proves the case in an internal

    trial against an officer, the police commissioner still maintains the power to reduce the

    discipline against such an officer.

 40. Further, the City has no procedure to notify individual officers or their supervisors of

    unfavorable judicial review of their conduct. Without this notification, improper search

    and seizure practices and incredible testimony go uncorrected. Additionally, according to

    a report of the New York City Bar Association issued in 2000, the City has isolated its

    law department from the discipline of police officers so that civil suits against police

    officers for actions taken in their capacity as police officers have no impact on the

    officers’ careers, regardless of the outcome of the civil actions.

 41. The City is aware that all of the aforementioned has resulted in violations of citizens’

    constitutional rights. Despite such notice, the City has failed to take corrective action.
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    This failure and these policies caused the officers in the present case to violate Plaintiff’s

    civil rights without fear of reprisal.

 42. Plaintiff has been damaged as a result of the deliberate indifference of the City to the

    constitutional rights of the City’s inhabitants.

 43. As a result of the foregoing, Plaintiff suffered an unlawful detention, loss of liberty,

    emotional distress, fear, anxiety, humiliation and degradation – all to his detriment.

                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff respectfully requests judgment against defendants as follows:

        a. Compensatory damages against all defendants, jointly and severally;

        b. Punitive damages in an amount to be determined by a jury;

        c. Reasonable attorneys’ fees and costs; and

        d. Such other relief as this Court shall deem just and proper.



    Dated: November 18, 2015
           New York, NY
                                                   s/Michael J. Redenburg_____
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